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                   IN THE DISTRICT COURT OF THE UNITED STATES

                         FOR THE DISTRICT OF SOUTH CAROLINA

                                     COLUMBIA DIVISION


UNITED STATES OF AMERICA                     )             CR. NO.: 3:10-112
                                             )
                  -v-                        )        MOTION FOR DISCOVERY
                                             )           AND INSPECTION
                                             )
PATRICK LEWIS PARKS                          )


             The defendant, PATRICK LEWIS PARKS, through his undersigned attorney,

does hereby move the Court for discovery and inspection of the following:

             1.         Any relevant written or recorded statements made by the defendant,
                        or copies thereof, within the possession, custody or control of the
                        Government, the existence of which is known, or by the exercise of
                        due diligence may become known, to the attorney for the
                        Government;

             2.         The substance of any oral statement which the Government intends
                        to offer in evidence at the trial made by the defendant;

             3.         The prior criminal record of the defendant;

             4.         All books, papers, documents, photographs or tangible objects which
                        are in the possession, custody or control of the Government, and are
                        relevant to this case, including any handwritten notes taken by any
                        investigating agents;

             5.         The results or reports of physical or mental examinations, of scientific
                        tests or experiments, or copies thereof, which are within the
                        possession, custody or control of the Government, the existence of
                        which is known, or by the exercise of due diligence may become
                        known to the attorney for the Government;

             6.         Pursuant to Fed.R.Crim.P. 16(a)(1)(E), a written summary of
                        testimony the government intends to use under rules 702, 703, or 705
                        of the Federal rules of Evidence during its case in chief at trial,
                        including the witnesses’ opinions, the basis and the reasons thereof,
                        and the witnesses’ qualifications.
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      7.    All evidence favorable to the defendant, or which would be helpful in
            the preparation of a defense or in mitigation of punishment. This
            includes, but is not limited to, the following:

            (a)     All information relevant to the credibility of any Government
                    witness;

            (b)     All information concerning the conduct, character and
                    reputation of any such witness which is relevant to his or her
                    truthfulness or untruthfulness;

            (c)     The criminal record of such witness, including specifically, any
                    prior conviction of a crime punishable by death or
                    imprisonment in excess of one year or which involved
                    dishonesty or false statement;

            (d)     The substance of any agreement, or proposed agreement,
                    either oral or written, made in the name of the Government of
                    the United States to any Government witness, the subject of
                    which deals either directly or indirectly with promise of favored
                    treatment or leniency in return for either pleas of guilty, nolo
                    contendere or favorable testimony in this case or any other
                    criminal or civil litigation or sentencing procedure;

            (e)     All evidence tending to show that any acts or conduct by the
                    defendant were done without criminal intent;

            (f)     This request specifically includes any information which could
                    show that at the time of any alleged act, the defendant,
                    PATRICK LEWIS PARKS, was neither present, mentioned or
                    involved directly or indirectly;

            (g)     All names and present addresses of persons who have any
                    knowledge of the existence of any evidence which might be
                    relevant to acts charged as a crime in the Indictment against
                    the defendant, including all persons who (a) will be witnesses
                    for the Government upon the trial of this case, or (b) will not be
                    called as witnesses by the Government;

            (h)     The transcript of testimony of any and all persons who testified
                    before the Grand Jury in this case; and,



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            8.      All statements of witnesses producible under Title 18, United States
                    Code, Section 3500, the Jencks Act, at least seventy-two (72) hours
                    prior to trial.

            9.      Pursuant to the provisions of Title 18, United States Code, Section
                    2518(9):

                    (a)    All records relating to intercepted wire or oral communications
                           and/or evidence discovered therefrom.

                                         Respectfully submitted,



                                         s/ALLEN B. BURNSIDE
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Columbia, South Carolina

February 26, 2010




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